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                                                                       Exhibit 1
                 Exhibit 1
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

DONTE BUCKMIRE ,

                    Plaintiff,                      Civil Action No. 1:24-cv-12110-AK

         v.

WAYFAIR, INC., COLBY GRENIER and
THERESE BARTOLINI,

                    Defendants.


                                     Scheduling Order
KELLEY, D. J.
        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it
is hereby ordered that:

A.       Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) must be
         completed by November 1, 2024.

B.       Amendments to Pleadings. Except for good cause shown, no motions seeking leave to
         add new parties or to amend the pleadings to assert new claims or defenses may be filed
         after January 9, 2025.

C.       Fact Discovery – Interim Deadlines.

           a.   All requests for production of documents and interrogatories must be served by
                November 25, 2024.

           b.   All requests for admission must be served by April 25, 2025 or fourteen days
                after the last production of documents, if later.

           c.   All depositions, other than expert depositions, must be completed by June 30,
                2025, with the following exceptions:

                    i. The deposition of Meredith Habgood, who was unavailable due to
                       pregnancy at the time of her noticed deposition, whose deposition will be
                       completed within a 90-day extension, by September 29, 2025;
                   ii. The deposition of Defendant Colby Grenier, which has already had a full
                       day of testimony, will be completed within a within a 90-day extension,
                       by September 29, 2025. The parties have not reached an agreement as to

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                        any appropriate limits to the time and scope of the second day of Mr.
                        Grenier’s deposition and may need the assistance of the Court to do so.
                   iii. The deposition of Defendant Therese Bartolini, which has already had a
                        full day of testimony, will be completed within a within a 90-day
                        extension, by September 29, 2025. The parties have not reached an
                        agreement as to any appropriate limits to the time and scope of the second
                        day of Ms. Bartolini’s deposition and may need the assistance of the Court
                        to do so.
                   iv. The parties have not reached an agreement as to the potential re-opening
                        of the Rule 30(b)(6) deposition, to which the Defendants’ object.

D.       Fact Discovery – Final Deadline.

           a.     All discovery, other than expert discovery must be completed by June 30, 2025.

E.       Status Conference. The Court will schedule a status conference at or near the close of
         fact discovery for case management purposes. Any party who reasonably believes that
         an earlier status conference will assist in the management or resolution of the case may
         request one from the Court upon reasonable notice to opposing counsel.

F.       Expert Discovery.
           a.     Plaintiff’s trial experts must be designated by, and the information
                  contemplated by Fed. R Civ. P. 26(a)(2) must be disclosed by a date To Be
                  Determined after summary judgment and before trial.

           b.     Plaintiff’s trial experts must be deposed by a date To Be Determined after
                  summary judgment and before trial.

           c.     Defendants’ trial experts must be designated, and the information contemplated
                  by Fed. R. Civ. P. 26(a)(2) must be declared disclosed, by a date To Be
                  Determined after summary judgment and before trial.

           d.     Defendants’ trial experts must be deposed by a date To Be Determined after
                  summary judgment and before trial.

G.       Dispositive Motions.

           a.     Dispositive motions, such as motions for summary judgment or partial
                  summary judgment and motions for judgment on the pleadings, must be filed
                  by December 13, 2025.

           b.     Oppositions to dispositive motions must be filed within 21 days of service of
                  the motion.



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           c.     Reply memoranda, not to exceed 10 pages, must be filed within 14 days after
                  service of the opposition papers.

           d.     Sur-Reply memoranda are not permitted.

H.       Trial by Magistrate Judge. The parties do not consent to trial by magistrate judge at
         this time.


         SO ORDERED.


Dated: June ___, 2025                              ___________________________
                                                   Hon. Angel Kelley
                                                   United States District Judge




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